3:18-cr-30006-SEM-TSH # 43   Page 1 of 7                                      E-FILED
                                           Thursday,
                                            Monday, 23
                                                     27 September, 2019
                                                                      2018 09:27:07
                                                                             12:02:08 AM
                                                                                       PM
                                                         Clerk, U.S. District Court, ILCD




                             s/ Sue E. Myerscough
                         3:18-cr-30006-SEM-TSH # 43                         Page 2 of 7
AO 2458 (Rev. 09/ 17) Judgment in Criminal Case
                      Sheet 2 - Imprisonment

                                                                                                               Judgment -   Page     2      of            7
DEFENDANT: LEONARD WILLIAMS
CASE NUMBER: 18-30006-001

                                                                IMPRISONMENT

            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:

      120 months.



      Ill   The court makes the following recommendations to the Bureau of Prisons:
  1. That the defendant serve his sentence at FCI Pekin or, if FCI Pekin is not available, in a facility as close to Springfield, Illinois as possible.
  2. That the defendant serve his sentence in a facility that will allow him to participate in the Residential Drug Abuse Program (RDAP) and
  vocational programs.
  3. That any subsistence fee assessed by a community confinement facility is waived .


      ll!   The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
            D at                                     D a.m.         D p.m.        on

            D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D before 2 p.m. on
            D as notified by the United States Marshal.
            D as notified by the Probation or Pretrial Services Office.


                                                                       RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                              to

 at   ~~~~~~~~~~~~~~~~
                                                       , with a certified copy of this judgment.



                                                                                                            UNITED STATES MARSHAL


                                                                                By
                                                                                                       DEPUTY UNITED STATES MARSHAL
                           3:18-cr-30006-SEM-TSH # 43                    Page 3 of 7
AO 2458 (Rev. 09/17) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                             Judgment-Page         of
DEFENDANT: LEONARD WILLIAMS
CASE NUMBER: 18-30006-001
                                                         SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
         8 years.




         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
1.      You must not commit another federal, state or local crime.
2.      You must not unlawfully possess a controlled substance.
3.      You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
        imprisonment and at least two periodic drug tests thereafter, as detennined by the probation officer.
               D The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse. (check if applicable)
4.        D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
               restitution. (check if applicable)
5.        Gil" You must cooperate in the collection of DNA as directed by the probation officer.   (check if applicable)

6.        D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901 , et seq.) as
              directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
              reside, work, are a student, or were convicted of a qua! ifying offense. (check if applicable)
7.        D You must participate in an approved program for domestic violence. (check ifapplicable)
             If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
     Schedule of Payments sheet of this judgment.
            The defendant must comply with the following conditions:

        1. The defendant shall not knowingly leave the judicial district in which he is approved to reside without the
        permission of the Court or probation officer, who shall grant permission unless the travel would significantly
        hinder his rehabilitation.

        2. The defendant shall report to the probation officer in a reasonable manner and frequency as directed by the
        Court or probation officer.

        3. The defendant shall follow the instructions of the probation officer as they relate to his conditions of
        supervision. He shall answer truthfully the questions of the probation officer as they relate to his conditions of
        supervision, subject to his right against self-incrimination.

        4. The defendant shall notify the probation officer at least ten days prior to, or as soon as he knows about, any
        changes in residence or any time he leaves a job or accepts a job.
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 AO 245B (Rev. 09/17) Judgment in a Criminal Case
                      Sheet 3A- Supervised Release
                                                                                          Judgment-Page _ _ _ _ of _ __ __
DEFENDANT: LEONARD WILLIAMS
CASE NUMBER: 18-30006-001

                                         ADDITIONAL SUPERVISED RELEASE TERMS

    5. The defendant shall permit a probation officer to visit him at home between the hours of 6 a.m. and 11
    p.m., at his place of employment while he is working, or at the locations of his court-ordered treatment
    providers. Visits may be conducted at any time if the probation officer has reasonable suspicion to believe
    that the defendant is in violation of a condition of supervised release or if the defendant or a third party has
    reported that he is unable to comply with a directive of the probation officer because of illness or
    emergency. During any such visit, the defendant shall permit confiscation of any contraband observed in
    plain view of the probation officer.

    6. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law
    enforcement officer. This condition does not prevent him from invoking his Fifth Amendment right against
    self-incrimination.

    7. The defendant shall not knowingly possess a fireann, ammunition, destructive device as defined in 18
    U.S.C. § 921(a)(4), or any object that he intends to use as a dangerous weapon as defined in 18 U.S.C. §
    930(g)(2).

    8. The defendant shall not purchase, possess, use, distribute, or administer any controlled substance or
    psychoactive substance that impairs physical or mental functioning, including street, synthetic, or designer
    drugs, or any paraphernalia related to any controlled substance or psychoactive substance, except as
    prescribed by a physician. He shall, at the direction of the U.S. Probation Office, participate in a program
    for substance abuse treatment including not more than six tests per month to determine whether he has used
    controlled or psychoactive substances. The defendant shall abide by the rules of the treatment provider. He
    shall pay for these services, to the extent he is financially able to pay. The U.S. Probation Office shall
    detennine his ability to pay and any schedule for payment, subject to the Court's review upon request. The
    defendant shall not be deemed financially able to pay if, at the time he begins receiving substance abuse
    treatment, he would qualify for court-appointed counsel under the Criminal Justice Act. He shall be subject
    to this condition until such time as the U.S. Probation Office determines that drug abuse treatment and drug
    testing no longer assists him to avoid committing further crimes.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                               Date
                                                                                                           - - - -- - - - - -
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AO 245B (Rev. 09/ 17) Judgment in a C riminal Case
                      Sheet 3B - Supervised Release
                                                                                      Judgment-Page   5     of        7
DEFENDANT: LEONARD WILLIAMS
CASE NUMBER: 18-30006-001

                                    ADDITIONAL SUPERVISED RELEASE TERMS
9. The defendant shall refrain from excessive use of alcohol, as defined as the legal limit of impairment in the
state in which he is located.

10. The defendant shall participate in psychiatric services and/or a program of mental health
counseling/treatment as directed by the U.S. Probation Office and shall take any and all prescribed medications
as directed by the treatment providers. He shall pay for these services, to the extent he is financially able to pay.
The U.S. Probation Office shall determine his ability to pay and any schedule for payment, subject to the Court's
review upon request. The defendant shall not be deemed financially able to pay if, at the time he begins
receiving psychiatric services or mental health counseling or treatment, he would qualify for court-appointed
counsel under the Criminal Justice Act. He shall be subject to this condition until such time as the U.S.
Probation Office determines that psychiatric or mental health counseling or treatment no longer assists him to
avoid committing further crimes.

11. The defendant shall make a meaningful attempt to secure lawful and regular employment, defined as a
monthly average of at least 30 hours per week, unless excused by the U.S. Probation Office for schooling,
training, or other acceptable reason, such as child care, elder care, disability, age, or serious health condition.

12. The defendant shall not knowingly be present at places where he knows controlled substances are illegally
sold, used, distributed, or administered.

13. The defendant shall not knowingly meet, communicate, or otherwise interact with any person whom he
knows to be a convicted felon or to be engaged in, or planning to engage in, criminal activity, unless granted
pennission to do so by the probation officer.
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AO 2458 (Rev. 09/17)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                          Judgment - Page      6     of        7
 DEFENDANT: LEONARD WILLIAMS
 CASE NUMBER: 18-30006-001
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                   JVT A Assessment*             Fine                            Restitution
TOTALS             $ 100.00                     $ 0.00                        $ 0.00                          $ 0.00


 D    The determination of restitution is deferred until                  An Amended Judgment in a Criminal Case (AO 245C) will be entered
                                                               ---- .
      after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is paid.

Name of Payee                                                       Total Loss**            Restitution Ordered               Priority or Percentage




TOTALS


D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). A ll of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 12(g).

D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the            D fine   D restitution.
       D the interest requirement for the          D fine       D   restitution is modified as follows:

*Justice for Victims of Trafficking Act of2015, Pub. L. No. I 14-22.
**Findings for the total amount oflosses are required under Chapters l09A, 110, 11 OA, and I I 3A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
                       3:18-cr-30006-SEM-TSH # 43
AO 2458 (Rev. 09/17) Judgment in a Criminal Case
                                                                         Page 7 of 7
                     Sheet 6 - Schedule of Payments

                                                                                                              Judgment -   Page     7      of           7
DEFENDANT: LEONARD WILLIAMS
CASE NUMBER: 18-30006-001

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     [lJ   Lump sum payment of$         100.00                due immediately.

            D    not later than                                     , or
            D    in accordance with D       c,     D    D,     D     E, or     D F below; or

B     D     Payment to begin immediately (may be combined with               DC,         D D,or        D F below); or

C     0     Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D     Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     D     Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     D     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if th is judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsib ility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant' s interest in the following property to the U nited States:



Payments shall be applied in the fo llowing order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
